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Fill in this information to identify your case:

senior 1 Merisa Denise Mos|ey

First Name Middle Name Last Name

Debtor 2 none
(Spouse, iftiling) Frrerame Midaie Name LastName

 

 

United States Bankruptcy Court for the: District of Mary|and

,C (:?`r:'f this is an
"émen‘ded filing

Case number
(|f known)

 

    

 

 

Official Form 108
Statement of lntention for lndividua|s Filing Under Chapter 7 12/15

 

lf you are an individual filing under chapter 7, you must fill out this form if:

l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

Vou must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

lf two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). .

m List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have CIaims Secured by Property (Official Form 1060), fill in the
information below.

identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
C"ednofs n Surrender the property. Cl No
name: none
n Retain the property and redeem it. U Yes

Description of
property
securing deth

n Retain the property and enter into a
Reaffirmation Agreement.

m Retain the property and [exp|ain]:

 

C"ed'tor’$ El Surrender the property. Cl No
name:

Cl Reiain the property and redeem it. l;l Yeg
Description of
property
securing deth

m Retain the property and enter into a
Reaff/'rmation Agreement.

n Retain the property and [explain]:

 

Cr€diiOr’S U Surrender the property. m NO
name:

m Relain the property and redeem it. El Yes
Description of
property
securing debt

m Retain the property and enter into a
Reaffirmation Agreement.

El Retain the property and [explain]:

 

Creditor's m Surrender the property. n NO
name:

m Retain the property and redeem it. n Yes
Description of
property
securing debt:

n Retain the property and enter into a
Reaffirmation Agreement.

n Retain the property and [explain]:

 

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Denzom Merisa Denise Mosley Case number (lfknown)

First Name Middle Name Last Name

m List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Officia| Form 1066),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

 

 

Describe your unexpired personal property leases Will the lease be assumed?

L€SSOr’S name: none- living with a relative [] NO
Cl Y

Description of leased es

property:

Lessor's name: a No
Cl Y

Description of leased es

property:

Lessor`s name: n NO

Description of leased n Ye$

property:

Lessor’s name: ij NO
m Yes

Description of leased

property:

Lessor’s name: n NO
Cl Ves

Description of leased

property:

Lessor’s name: |;| NO

_ _ L;l Yes

Descnpt\on of leased

property:

Lessol“s name: C| NO
n Yes

Description of leased
property:

Sign Below

Under penalty of perjury, l declare that l have indicated my intention about any property of my estate that secures a debt and any
personal roperty that is subject to an unexpired lease.

 

 

 

 

 

X X none
Signature of Debtor 1 Signature of Debtor 2
Date`,$wei"8 62 /07/ 7016?/ t Date
MM/ op / YYYY Mrvl/ DD/ YYYY
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